Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 1 of 6 PageID #: 476
Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 2 of 6 PageID #: 477
Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 3 of 6 PageID #: 478
Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 4 of 6 PageID #: 479
Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 5 of 6 PageID #: 480
Case 3:05-cr-00026-JPB-DJJ Document 121 Filed 02/25/09 Page 6 of 6 PageID #: 481
